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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                        )
WESTERN VALUES PROJECT,                 )
                                        )
                             Plaintiff, )
                                        )
v.                                      )                Case No. 17-2070 (ABJ)
                                        )
U.S. DEPARTMENT OF THE INTERIOR,        )
                                        )
                           Defendant. )
                                        )

                                   JOINT STATUS REPORT

       1.      On October 5, 2017, Plaintiff Western Values Project brought this action against

Defendant U.S. Department of the Interior (DOI) seeking declaratory and injunctive relief to

compel DOI to search for and produce responsive non-exempt records in response to two

requests made pursuant to the Freedom of Information Act, 5 U.S.C. § 552 (FOIA). Pursuant to

the Court’s May 7, 2018 Minute Order, the parties, through their counsel, respectfully submit the

following status report.

       2.      DOI has represented, via the cover letters to its productions, that it has completed

its searches for and productions of responsive non-exempt records.

       3.      The parties are presently engaged in discussions regarding Plaintiff’s questions

regarding Defendant’s searches and claims of exemption in an effort to try and resolve them

without the involvement of the Court to the extent possible.

       4.      The parties jointly and respectfully request that the Court order that they meet and

confer and file a further Joint Status Report on or before July 20, 2018.




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Dated: June 7, 2018                         Respectfully submitted,

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